Case 1:14-cr-00021-TSK-MJA Document 145 Filed 10/20/14 Page 1 of 4 PageID #: 441



                    IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

 UNITED STATES OF AMERICA,

                   Plaintiff,

        v.                                    CRIMINAL NO. 1:14CR21-1
                                                   (Judge Keeley)


 CLAUDE JONES,

                   Defendant.

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
       OPINION/REPORT RECOMMENDATION CONCERNING PLEA IN A FELONY
       CASE [DKT NO. 142] AND SCHEDULING THE SENTENCING HEARING

        On October 8, 2014, defendant, Claude Jones (“Jones”) appeared

 before United States Magistrate Judge John S. Kaull and moved the

 Court for permission to enter a plea of GUILTY to Count Twenty-Nine

 of the Indictment. Jones stated that he understood that the

 magistrate     judge    is    not   a   United    States   district     judge   and

 voluntarily waived his right to have an Article III judge hear and

 accept his plea and voluntarily consented to entering a guilty plea

 before the magistrate judge.

        Based upon Jones' statements during the plea hearing and the

 testimony of Sergeant Doug Yost as an independent factual basis for

 the   guilty    plea,   the    magistrate        judge   found   that   Jones   was

 competent to enter a plea of guilty, that the plea was freely and

 voluntarily given, that Jones was aware of the nature of the

 charges against him and the consequences of his guilty plea, and

 that a factual basis existed for the tendered plea.
Case 1:14-cr-00021-TSK-MJA Document 145 Filed 10/20/14 Page 2 of 4 PageID #: 442



 USA v. CLAUDE JONES                                              1:14CR21-1

              ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
            OPINION/REPORT RECOMMENDATION CONCERNING PLEA IN A
             FELONY CASE AND SCHEDULING THE SENTENCING HEARING

       On     October    9,   2014,   the   magistrate   judge   entered   an

 Order/Report      and    Recommendation     Regarding    Plea   of    Guilty

 (“Order/R&R”) (dkt. no. 142) finding a factual basis for the plea

 existed, and accepting Jones’ plea of guilty to Count Twenty-Nine

 of the Indictment. His Order/R&R directed the parties to file any

 written objections to the Order/R&R within fourteen (14) days after

 service. It further directed that failure to file objections would

 result in a waiver of the right to appeal from a judgment of this

 Court regarding the Order/R&R. The parties have not filed any

 objections.

       Accordingly,      this   Court   ACCEPTS   the    magistrate   judge’s

 Order/R&R and ADJUDGES CLAUDE JONES GUILTY of the crime charged in

 Count Twenty-Nine of the Indictment, and pursuant to Fed. R. Crim.

 P. 11(c)(3)(A) and U.S.S.G. § 6B1.1(c), DEFERS acceptance of the

 proposed plea agreement until the Court has received and reviewed

 the presentence report prepared in this matter.

       Pursuant to U.S.S.G. § 6A1 et seq.:

       1.      The Probation Officer shall undertake a presentence

 investigation of CLAUDE JONES and prepare a presentence report for

 the Court;



                                        2
Case 1:14-cr-00021-TSK-MJA Document 145 Filed 10/20/14 Page 3 of 4 PageID #: 443



 USA v. CLAUDE JONES                                                1:14CR21-1

              ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
            OPINION/REPORT RECOMMENDATION CONCERNING PLEA IN A
             FELONY CASE AND SCHEDULING THE SENTENCING HEARING

       2.      The Government and Jones are to provide their         versions

 of the offense to the probation officer by November 3, 2014;

       3.      The presentence report is to be disclosed to Jones,

 defense counsel, and the United States on or before December 12,

 2014; however, the Probation Officer is not to disclose the

 sentencing recommendations made pursuant to Fed. R. Crim. P.

 32(e)(3);

       4.      Counsel to file written objections to the presentence

 report on or before December 19, 2014;

       5.      The Office of Probation shall submit the presentence

 report with addendum to the Court on or before January 5, 2015; and

       6.      Counsel may file any written sentencing statements and

 motions for departure from the Sentencing Guidelines, including the

 factual     basis   from   the   statements   or   motions,   on   or   before

 January 16, 2015.

       The magistrate judge remanded Jones to the custody of the

 United States Marshals pending further proceedings.

       The Court will conduct the sentencing hearing for Claude Jones

 on Monday, January 26, 2015 at 2:30 P.M. at the Clarksburg, West

 Virginia point of holding court.


                                       3
Case 1:14-cr-00021-TSK-MJA Document 145 Filed 10/20/14 Page 4 of 4 PageID #: 444



 USA v. CLAUDE JONES                                              1:14CR21-1

            ORDER ACCEPTING AND ADOPTING MAGISTRATE JUDGE'S
          OPINION/REPORT RECOMMENDATION CONCERNING PLEA IN A
           FELONY CASE AND SCHEDULING THE SENTENCING HEARING

       It is so ORDERED.

       The Court directs the Clerk to transmit copies of this Order

 to counsel of record and all appropriate agencies.

 DATED: October 20, 2014



                                     /s/ Irene M. Keeley
                                     IRENE M. KEELEY
                                     UNITED STATES DISTRICT JUDGE




                                       4
